Case 1:07-cv-01863-LTB Document 9 Filed 02/06/08 USDC Colorado Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                LEWIS T. BABCOCK, JUDGE

Civil Case No. 07-cv-01863-LTB-MJW

JOHN WISCHMEYER,

             Plaintiff,

v.

DEPUTY SHERIFF JEFFREY A. WOOD, in his official and personal capacity, and
PARK COUNTY, by and through the Park County Sheriff’s Office, a municipality,

           Defendants.
___________________________________________________________________________

                              MINUTE ORDER
___________________________________________________________________________
BY ORDER OF JUDGE LEWIS T. BABCOCK


       Upon Plaintiff’s Response to Order to Show Cause (Doc 8 - filed February 7, 2008), the
Order to Show Cause issued January 18, 2008 is DISCHARGED.




Dated: February 6, 2008
________________________________________________________________________
